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In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS

******************** *
JASON CHEVALIER,         *                         No. 15-001V
                         *                         Special Master Christian J. Moran
             Petitioner, *
                         *                         Filed: March 25, 2016
v.                       *
                         *
SECRETARY OF HEALTH      *                         Stipulation;
AND HUMAN SERVICES,      *                         Tetanus, diphtheria, and acellular
                         *                         pertussis (“Tdap”) vaccine;
             Respondent. *                         Guillain-Barré Syndrome (“GBS”).
                         *
******************** *

Ronald Homer, Conway, Homer & Chin-Caplan, P.C., Boston, MA, for Petitioner;
Christine Becer, U.S. Dep’t of Justice, Washington, DC, for Respondent.

                             UNPUBLISHED DECISION1

       On March 24, 2016, the parties filed a joint stipulation concerning the
petition for compensation filed by Jason Chevalier on January 5, 2015. In his
petition, petitioner alleged that the tetanus, diphtheria and acellular pertussis
(“Tdap”) vaccine, which is contained in the Vaccine Injury Table (the “Table”), 42
C.F.R. §100.3(a), and which he received on September 21, 2012, caused him to
suffer Guillain-Barré Syndrome (“GBS”). Petitioner further alleges that he
suffered the residual effects of this injury for more than six months. Petitioner
represents that there has been no prior award or settlement of a civil action for
damages on his behalf as a result of his condition.



       1
         The E-Government Act, 44 U.S.C. § 3501 note (2012) (Federal Management and
Promotion of Electronic Government Services), requires that the Court post this decision on its
website. Pursuant to Vaccine Rule 18(b), the parties have 14 days to file a motion proposing
redaction of medical information or other information described in 42 U.S.C. § 300aa-12(d)(4).
Any redactions ordered by the special master will appear in the document posted on the website.
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      Respondent denies that the Tdap vaccine caused or aggravated petitioner’s
alleged GBS or any other injury or his current condition.

      Nevertheless, the parties agree to the joint stipulation, attached hereto as
Appendix A. The undersigned finds said stipulation reasonable and adopts it as the
decision of the Court in awarding damages, on the terms set forth therein.

        Damages awarded in that stipulation include:

        A lump sum payment of $140,000.00 in the form of a check payable to
        petitioner, Jason Chevalier. This amount represents compensation for
        all damages that would be available under 42 U.S.C. § 300aa-15(a).

       In the absence of a motion for review filed pursuant to RCFC, Appendix B,
the clerk is directed to enter judgment in case 15-001V according to this decision
and the attached stipulation.2

        Any questions may be directed to my law clerk, Dan Hoffman, at (202) 357-
6360.

        IT IS SO ORDERED.

                                                     s/Christian J. Moran
                                                     Christian J. Moran
                                                     Special Master




        2
          Pursuant to Vaccine Rule 11(a), the parties can expedite entry of judgment by each
party filing a notice renouncing the right to seek review by a United States Court of Federal
Claims judge.

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